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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                       )
                                                 )
                Plaintiff,                       )
                                                 )
        v.                                       )   Criminal No.: 07-30077-GPM-01
                                                 )
 VINCENT C. RIVERA,                              )
                                                 )
                Defendant.                       )

                             REPORT AND RECOMMENDATION

        The United States of America and the Defendant having both filed a written consent,

 appeared before me pursuant to Federal Rule of Criminal Procedure 11 and SDIL Rule

 72.1(b)(2). The Defendant entered a plea of guilty to Count 1 of the Indictment. After

 cautioning and examining the Defendant under oath concerning each of the subjects mentioned

 in Rule 11, I determined that the guilty plea was knowing and voluntary as to each count, and

 that the offense charged is supported by an independent factual basis containing each of the

 essential elements of such offense. I therefore recommend that the plea of guilty be accepted,

 that a presentence investigation and report be prepared, and that the Defendant be adjudicated

 guilty and have sentence imposed accordingly.

 DATED: October 1, 2007
                                                     s/ Donald G. Wilkerson
                                                     DONALD G. WILKERSON
                                                     United States Magistrate Judge

                                             NOTICE

        The failure to file a written objection to this Report and Recommendation within ten (10)
 days from the date of service shall bar an aggrieved party from challenging this Report and
 Recommendation before the assigned U.S. District Judge. 28 U.S.C. 636(b)(1)(B).
